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                IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF ALABAMA,
                         NORTHERN DIVISION

BRIANNA BOE, et al.                       )
                                          )
                                          )
       Plaintiffs,                        )
                                          )
and                                       )
                                          )
                                          )
UNITED STATES OF AMERICA,                 )
                                          ) CIVIL ACTION NO.
       Plaintiff-Intervenor,              ) 2:22-CV-00184-LCB-SRW
v.                                        )
                                          )
                                          )
Hon. STEVE MARSHALL, in his               )
official capacity as Attorney             )
General of the State of Alabama, et       )
                                          )
al.                                       )
                                          )
       Defendants.                        )


 NON-PARTY EAGLE FORUM OF ALABAMA’S OBJECTION TO AND
   MOTION TO QUASH LATEST DOCUMENT SUBPOENA FROM
         PLAINTIFFS, AND MOTION FOR SANCTIONS
      Eagle Forum of Alabama (“EFA”), which is not a party to this case, hereby

objects to and moves to quash the latest subpoena served on it in this matter, i.e., a

subpoena issued by and served upon EFA on February 6, 2024 (the “Subpoena”)

by counsel for the individual plaintiffs. In addition, EFA moves the Court for an

appropriate sanction on the individual Plaintiffs and/or their counsel, pursuant to

Fed. R. Civ. P. 45(d)(1). A true and correct copy of the Subpoena is attached

hereto as Exhibit A.
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      Plaintiffs seek through the present Subpoena to require EFA, a non-party to

this suit, to search its files over a four-year time span and produce all written

“[c]ommunications (including any attachments thereto) sent or received between

Eagle Forum of Alabama and any of (i) a current or former member of the

Alabama Legislature, (ii) his or her staff, or (iii) any other Alabama public official,

regarding SB184, HB266, or any related or predecessor legislative bill in Alabama,

sent or received between January 1, 2018 and April 7, 2022.” (Ex. A, p. 9.) As

demonstrated below, the present subpoena to EFA – like the previous one served

on it in 2022 by the United States – is due to be quashed for multiple reasons.

              FACTUAL AND PROCEDURAL BACKGROUND

      1.     As established in previous filings, EFA is a grassroots, non-profit

Alabama corporation devoted to the cause of protecting Alabama’s families in

public policy initiatives and reform efforts. It is a 501(c)(4) organization under the

U.S. Internal Revenue Code. EFA has only one full-time paid employee, along

with one part-time paid administrative assistant. Nearly all of the work done by

EFA is done by volunteers. See the Declarations of Becky Gerritson and Margaret

Clarke previously filed (Docs. 151-3 and 151-4).

      2.     As the Court will recall, this is not the first document subpoena which

has been issued and served upon EFA in this case. Back in 2022, assistant U.S.

attorney Jason Cheek, on behalf of the United States (intervening plaintiff), issued


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and served on EFA a non-party document subpoena that demanded very similar

documents to the present subpoena – including, among other categories of

documents, “[a]ny documents provided to the Alabama State Legislature or any

employee or member thereof in support of VCAP,1 SB 184, HB 266, or any

predecessor bills, including written testimony, letters, emails, draft legislation,

model legislation, or proposed legislation, reports, summaries, analyses, fact

sheets, and/or talking points[;]” and “[a]ny communications between [EFA] and

any employee, agent, assign, or member of the Alabama State Legislature,

Alabama Governor’s office, Alabama Lieutenant Governor’s office, Alabama

Attorney General’s office, or any employee, agent, or assign of a District

Attorney’s office within Alabama concerning VCAP, SB 184, HB 266, and/or any

predecessor bills.” (Doc. 151-1, pp. 6-7 of 9, categories 4 and 5 of previous

subpoena).   EFA objected and moved to quash that subpoena on three basic

grounds: (a) the documents sought were irrelevant to the issue in this case and

outside the scope of permissible discovery under Fed. R. Civ. P. 26(b)(1); (b)

compliance with the subpoena would impose an undue burden on EFA, in violation

of Fed. R. Civ. P. 45(d)(1) and 45(d)(3)(A)(iv); and (c) compliance with the

subpoena would require production of privileged documents in violation of Rule



1
        The Alabama Vulnerable Child Compassion and Protection Act (“VCAP”), the
constitutionality of which is the subject of the present case.

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45(d)(3)(A)(iii), particularly EFA’s First Amendment privilege under the United

States Constitution. (Doc. 151).

       3.      Shortly before a scheduled hearing on EFA’s motion to quash that

subpoena, the U.S. filed a notice in which it withdrew all of the original categories

of the document subpoena (including categories 4 and 5 quoted above), while

purporting to add a new category of requested documents to the subpoena. (Docs.

184 and 186).

       4.      EFA’s motion to quash the U.S.’s subpoena was heard on October 14,

2022. The Court granted EFA’s motion to quash in a written Opinion and Order

dated October 24, 2022. The Court specifically held in its Opinion and Order that

all of the categories of documents which the U.S. sought from EFA in the original

subpoena were “unlikely to reveal or lead to any information that would help

resolve the fundamental issue in this case” (i.e., the constitutionality of the VCAP

statute), and, thus, had “little—if any—relevance for purposes of discovery.”

(Doc. 192, p. 5). The Court further held that the burden on EFA as a non-party to

produce the material sought by the U.S. “greatly outweigh[ed] any slight relevance

it may have” (Doc. 192, p. 5).2 Because the Court held that the documents sought


2
        The Court noted that EFA is a nonprofit organization staffed almost entirely of volunteers
and represented in this subpoena dispute by the undersigned on a pro bono basis. The Court
further noted that to produce the requested material, the volunteer staff of non-party EFA and its
pro bono counsel would first have to review thousands of documents, determine which, if any, of
those documents are responsive to the subpoena, and then omit or redact any privileged
information contained in those documents. (Doc. 192, pp. 5-6).

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by the prior subpoena fell outside the scope of proper discovery, the Court did not

address whether the documents sought by the U.S.’s subpoena were also privileged

under the First Amendment to the U.S. Constitution. (Doc. 192, p. 6 n. 15). The

Court went on to consider whether the U.S.’s misconduct in issuing such a

subpoena to EFA merited sanctions, ultimately postponing ruling on that issue

pending trial while continuing to monitor the behavior of the parties. (Doc. 264).

      5.    The current subpoena now at issue was issued by attorney Brent Ray

on behalf of the individual plaintiffs on January 31, 2024. See Exhibit A hereto.

The undersigned agreed to accept service of the subpoena on behalf of EFA on

February 6, 2024, as reflected in email correspondence (Exhibit B hereto) between

the undersigned and attorney Adam Reinke (another counsel for Plaintiffs). The

undersigned and Mr. Reinke spoke on February 13, 2024, about EFA’s objections

to the current subpoena, which are in essence the same basic objections which it

had to the U.S.’s previous subpoena that this Court quashed. In light of those

objections and the Court’s previous ruling, the undersigned asked Mr. Reinke to

withdraw the current subpoena, but he declined to do so.

                                  ARGUMENT

      The latest subpoena from Plaintiffs is objectionable for the same basic

reasons as the previous subpoena issued by the U.S., which was quashed by this




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Court as outlined above. Specifically, the grounds for EFA’s objection and motion

to quash the latest subpoena are as follows:

       6.     First, like the previous subpoena, the present Subpoena to EFA is

objectionable under Fed. R. Civ. P. 26(b)(1) because it improperly seeks

documents which are outside the scope of permissible discovery in that the

documents sought are neither relevant to any issue in this lawsuit nor proportional

to the needs of the case.3 As the parties and the Court are well aware, the subject

of this lawsuit is simply whether, and to what extent, the VCAP statute enacted by

the Alabama Legislature and signed into law by Governor Ivey is constitutional.

Plaintiffs appear to be on a desperate “fishing expedition” late in this lawsuit in an

attempt to find some document which they can argue somehow constitutes

evidence that the Alabama Legislature had a constitutionally impermissible motive

in enacting VCAP. But legislative motive itself is not relevant to this case, much

less documents that EFA as a non-party sent (in exercise of its membership’s First


3
        When a subpoena is directed to a non-party, the scope of discovery “must be limited even
more. … Bystanders should not be drawn into the parties’ dispute without some good reason,
even if they have information that falls within the scope of party discovery. … A more
demanding variant of the proportionality analysis therefore applies …. [C]ourts must give the
recipient’s nonparty status ‘special weight, ’leading to an even more ‘demanding and sensitive’
inquiry than the one governing discovery generally.” Va. Dep’t of Corrs. v. Jordan, 921 F.3d
180, 189 (4thCir. 2019) (quoting In re Pub. Offering PLE Antitrust Litig., 427 F.3d 49, 53 (1st
Cir. 2005). The Court must consider: (1) the requesting party’s need for the information sought,
“meaning that the information likely (not just theoretically) …offer[s] some value over and
above what the requesting party already has”; (2) whether the requesting party can obtain the
same or comparable information that would satisfy its needs from other sources; and (3) whether
the request will impose a cognizable burden on the nonparty. Id. at 189-90.



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Amendment rights) to individual legislators over a four-year period. VCAP is a

statute which should be interpreted according to its own plain language. As the

U.S. Supreme Court has historically and again recently recognized:

       This Court has long disfavored arguments based on alleged
      legislative motives …. the Court has recognized that inquiries into
      legislative motives are “a hazardous matter”. … Even when an
      argument about legislative motive is backed by statements made by
      legislators who voted for a law, we have been reluctant to attribute
      those motives to a legislative body as a whole. “What motivates one
      legislator to make a speech about his statute is not necessarily what
      motivates scores of others to enact it.”

Dobbs v. Jackson Women’s Health Organization, 142 S. Ct. 2228, 2255-56 (2022).

Accord CBS Inc. v. PrimeTime 24 Joint Venture, 245 F.3d 1217, 1222 (11th Cir.

2001) (“When the import of words Congress has used is clear . . . we need not

resort to legislative history, and we certainly should not do so to undermine the

plain meaning of the statutory language.”)

      The question in this case is not whether the Alabama Legislature passed

facially-neutral legislation with the secret intent and belief that it would have the

effect of reducing or eliminating gender-altering medications or procedures on

minors. To the contrary, the VCAP statute is clear on its face in prohibiting those

medications and procedures. Indeed, the U.S. (intervening Plaintiff) recognized

this in its assertion to the Eleventh Circuit in the appeal from the preliminary

injunction order in this case that the VCAP statute “facially” discriminates on the

basis of sex and transgender status. Brief for the United States as Intervenor-

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Appellee to the Eleventh Circuit (filed 8/10/22), pp. 2, 28, 33 (n. 14). Similarly,

the private plaintiffs who issued the latest subpoena to EFA previously

acknowledged to the Eleventh Circuit that “[t]here is no need to do a pretext

analysis; the [Legislature’s] intent is clear on the face of the Act.” Response Brief

for Plaintiffs-Appellees to the Eleventh Circuit (also filed 8/10/22), p. 56. While

EFA obviously disagrees (as did the Eleventh Circuit) with the plaintiffs’ position

that the statute improperly discriminates on the basis of sex or any other protected

characteristic, the point is that plaintiffs have already agreed that the

Legislature’s intent is clear from the face of the Act. Thus, there is no reason

for this Court to search for a hidden motivation by the Legislature in enacting the

statute, much less any excuse for plaintiffs’ present non-party document subpoena

to EFA.

      The communications sought by the Subpoena are further outside the scope

of discovery because the documents sought are protected from discovery by the

legislative privilege. Similar to Pernell v. Fla. Bd. of Governors of State Univ., 84

F.4th 1339 (11th Cir. 2023), the improper purpose of the present Subpoena is “‘to

support the lawsuit's inquiry into the motivation behind [a statute], an inquiry that

strikes at the heart of the legislative privilege.’” Id. at 1343 (quoting In re

Hubbard, 803 F.3d 1298 (11th Cir. 2015), and remanding with instructions to




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quash subpoenas of documents related to the drafting and adoption of a state

statute).

       Further, as the parties and the Court are also aware, EFA itself has no

legislative capacity, as it is a completely private association.         Thus, EFA’s

communications to any current or former individual legislator -- much less its

communications to legislative staff members and other public officials, which are

also sought by the present Subpoena -- regarding SB184, HB266, or any related or

predecessor legislative bill in Alabama, have no bearing on VCAP’s meaning or

constitutionality (or lack thereof). See, e.g., Alliance of Auto. Mfr., Inc. v. Julie L.

Jones, 2013 WL 4838764, * 4 (N.D. Fla. Sept. 11, 2013) (“[q]uestions of

constitutionality … are not decided upon review of … a citizen’s view of the law

or the like.”)

       For these multiple reasons, the present Subpoena from Plaintiffs is

objectionable because it improperly seeks documents which are not within the

scope of proper discovery under Fed. R. Civ. P. 26(b)(1).

       7.        Second, compliance with the latest Subpoena (as would have been

true of the previous subpoena from the U.S., had this Court not quashed it) would

be unduly burdensome on EFA, in violation of Fed. R. Civ. P. 45(d)(1) and

45(d)(3)(iv). The current Subpoena requests a broad category of communications

sent or received by EFA between January 1, 2018 and April 7, 2022 – a period of


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more than four years. As previously established, EFA is a 501(c)(4) organization

which has only one full-time paid employee, and one part-time paid administrative

assistant.   Nearly all of the work done by EFA is done by volunteers.

Identification and production of the documents sought by the current subpoena

would require extensive review of EFA’s records (both electronic and hard copy),

including document-by-document review of the personal computer and hard-copy

files of its volunteer general counsel, Margaret Clarke. (Docs. 151-4 and 186-2).

       In particular, as established by the Second Declaration of Ms. Clarke

previously filed, on her personal computer (which she uses for her volunteer work

with EFA) are nearly 500 Word/PDF documents and over 2,000 email messages

potentially related to the VCAP campaign. This does not include countless hard

copies of documents saved in boxes and binders.         These documents are not

organized in any way that would allow her to easily and quickly identify the

content of those documents and which of those may have been provided at some

point to a legislator – i.e., whether the document is responsive to the current

subpoena. Any attempt to comply with the plaintiffs’ latest subpoena would

require Ms. Clarke to open and read through each of the thousands of the

documents in her personal files referenced above. This task would easily take a

number of days of her time, as well as causing her to incur personal expense.

(Doc. 186-2). Such review would be an undue and entirely unjustified burden on


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Ms. Clarke and EFA, particularly when the documents sought have, as this Court

has already ruled, “little – if any – relevance for purposes of discovery.” (Doc.

192, p. 5). Plaintiffs’ latest subpoena should therefore be quashed or modified on

this basis as well.

      8.     Third, the present Subpoena, as was true of the last subpoena from the

U.S., is also objectionable because it seeks materials which are privileged under

the First Amendment to the U.S. Constitution. In the context of discovery, the

First Amendment creates a qualified privilege from disclosure of certain

associational information. See Perry v. Schwarzenegger, 591 F.3d 1147, 1159-61

(9th Cir. 2010). The burden to make a prima facie showing of First Amendment

privilege is “light,” given “the crucial place speech and associational rights occupy

under our constitution.” Christ Covenant Church v. Town of Sw. Ranches, 2008

WL 2686860, at * 6 (S.D. Fla. June 29, 2008) (quoting Schiller v. City of New

York, 2006 WL 3592547 (S.D.N.Y. Dec. 7, 2006)). Here, the communications

sought by the Subpoena are privileged under the First Amendment, because

production of these documents would have a chilling effect on the exercise of the

constitutional rights of EFA’s membership to free speech, assembly, and to petition

the government. See, e.g., the Declarations of Becky Gerritson and Margaret

Clarke previously filed (Docs. 151-3 and 151-4).




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      9.    Finally, particularly given the history and circumstances of this case,

EFA moves that this Court impose an appropriate sanction on Plaintiffs and/or

their counsel. Plaintiffs were fully aware that this Court had already quashed

similar subpoenas issued by the U.S. (intervening plaintiff) on EFA and another

non-party. (Doc. 192). The Court specifically held in its October 24, 2022,

Opinion and Order that such subpoenas “exceed the scope of discovery” under

Rule 26; that the materials which the U.S. had sought by the subpoenas were

“unlikely to reveal or lead to any information” that would help resolve the

fundamental issue in this case (i.e., whether VCAP is constitutional), and, thus,

that “the requested material has little – if any – relevance for purposes of

discovery;” and, further, that “the burden of the requested material greatly

outweighs any slight relevance it may have.” (Doc. 192, pp. 1, 5-6.) Before filing

this present Motion, EFA’s counsel conferred with counsel for Plaintiffs and

requested that they withdraw the Subpoena, but Plaintiffs declined.

      Rule 45(d)(1) prohibits Plaintiffs’ abuse of the subpoena process and

requires sanctions under these circumstances. The text of the rule provides as

follows:

             A party or attorney responsible for issuing and serving a
      subpoena must take reasonable steps to avoid imposing undue burden
      or expense on a person subject to the subpoena. The court for the
      district where compliance is required must enforce this duty and
      impose an appropriate sanction – which may include lost earnings and


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      reasonable attorney’s fees – on a party or attorney who fails to
      comply.

See also Progressive Emu Inc. v. Nutrition & Fitness Inc., 785 F. App'x 622 (11th

Cir. 2019) (affirming district court’s imposition of sanctions under Rule 45 against

a law firm which had issued an unreasonable document subpoena that would have

imposed an undue burden on the responding party). Particularly in light of what

they already knew about the previous subpoena from the U.S. to EFA, the private

plaintiffs’ blatant disregard of their duty under Rule 45(d)(1) deserves significant

sanctions including (but not limited to) attorneys’ fees. EFA and its counsel stand

ready to provide whatever further information the Court requests in this regard.

                                 CONCLUSION

      WHEREFORE, for good cause shown, non-party EFA respectfully requests

that this Honorable Court:

      1.   Enter an order quashing the Subpoena;

      2.   Impose an appropriate sanction on plaintiffs, including reasonable

           attorneys’ fees related to this Motion; and

      3.   Grant any further relief the Court deems just and necessary.


      Respectfully submitted this the 19th day of February, 2024.




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                                            s/ John M. Graham
                                            John M. Graham
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                          CERTIFICATE OF SERVICE

       I hereby certify that this 19th day of February, 2024, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system which will send
notification of such filing to counsel of record in this case.


                                        s/ John M. Graham
                                        OF COUNSEL




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